            Case 3:12-cr-00464-JM                       Document 39              Filed 04/24/12               PageID.102                  Page 1 of 2


      '!l!.AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                 Sheet J
                                                                                                                                           I-:I! "71'>

                                                 UNITED STATES DISTRICT COURT                                                  ("",..r~

                                                                                                                                             21..         9: 04
                                                                                                                               "t: t L
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                      JUDGMENT IN A CRlMINAt'rC2iSE'
                                           v.                                       (For Offenses Committed On or Afte:,~:vember I, 1~~7) ~J:"'"

                      THOMAS HAROLD WISELY (I)                                      Case Number: 12CR0464 JM

                                                                                    Ryan W. Stitt, Federal Defenders, Inc.
                                                                                    Defendanl's Attorney
      REGISTRATION NO. 30109298

     o
      THE DEFENDANT:
      [8J pleaded guilty to count(s) ONE OF THE INFORMATION.

      o w_fuood~il~oooooo~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
      Title & Section                           Nature of Offense                                                                            Number(s)
8: 1324(a)(1 )(A)(ii)and(v)(II)         TRANSPORTATION OF ILLEGAL ALIENS AND AIDING AND ABETTING                                                      1




         The defendant is sentenced _ provided in pages 2 through                _2_~ofthisjudgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  o   The defendant has been found not guilty on count(s)
                                                               ---------------------------------------------
  o   Count(s)                                                                       is   0    areD dismissed on the motion of the United States.
  181 Assessment: $100.00, waived.

  [8J Fine waived                                     o    Forfeiture pursuant to order filed                                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               April 20, 2012




                                                                                          JEFUEY T. MILLER
                                                                                   !TED STATES DISTRICT JUDGE

                                                                                                                                                    12CR0464JM
     Case 3:12-cr-00464-JM                      Document 39          Filed 04/24/12       PageID.103           Page 2 of 2

AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment   Page    2     of       2
 DEFENDANT: THOMAS HAROLD WISELY (1)
 CASE NUMBER: t2CR0464 JM
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         FOUR (4) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section J326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before --------------------------------------------------------
       o as notified by the United States MarshaL
       o notified by the Probation Pretrial Services Office.
               as                              or


                                                               RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL

                                                                     By ______________________                --~----------


                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                     t2CR0464JM
